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                                             Schedule 1

                                       Utility Company List

  Utility Company     Utility Company’s Address              Service Type         Adequate Assurance
                                                                                       Deposit
ABC Paging City       9337 S.W. 40th St., Miami,       Telephone                 $109
Beeper                FL 33165


AT&T                  208 S. Akard St., Dallas, TX     Internet                  $1,538
                      75202


Bradenton Utilities   101 12th St., West               Waste                     $556
Commission            Bradenton, FL 34205


CarWars               6060 N. Central Expressway, Telephone                      $5,208
                      Suite #101, Dallas, TX
                      75206

City of North         PO Box 152546, Cape Coral,       Water                     $3,006
Lauderdale Water      FL 33915-2546
and Sewer

Coastal Waste         4220 15th St. E., Bradenton      Waste                     $851
                      FL 34208


Consolidated          2116 S. 17th St., Mattoon, IL Internet                     $441
Communications        61938


Comcast Corporation   1701 JFK Boulevard,              Internet                  $4,479
                      Philadelphia, PA
                      19103

Crown Castle          1220 Augusta Dr., Suite          Internet                  $5,279
                      #600, Houston, TX 77057


Florida Public        PO Box 610, Marianna, FL         Natural Gas               $158
Utilities             32447-0610




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  Utility Company       Utility Company’s Address              Service Type         Adequate Assurance
                                                                                         Deposit
Florida Power and       General Mail Facility Miami, Electricity                   $39,673
Light Company           FL 33188-0001


Harris County MUD       9826 Whithorn Dr., Houston, Water                          $1,616
#63                     TX
                        77095
Lumen                   3340 Peachtree Road N.E.,   Telephone                      $10,868
                        Suite #200, Atlanta, GA
                        30326
Manatee County          PO Box 25010, Bradenton,    Water                          $1,355
Utilities Department    FL 34206-5010
Miami Dade Water        PO Box 026055, Miami, FL         Water                     $5,935
and Sewer               33102-6055
Orange County           9150 Curry Ford Road,            Water                     $1,275
Utilities               Orlando, FL 32825-7600
Orlando Utilities       PO Box 31329, Tampa, FL          Electric/Waste            $16,846
Commission              33631-3329
Palm Beach County       9045 Jog Road, Boynton           Water                     $1,966
Water Utilities         Beach, FL 33472
Department
Sprint                  6391 Sprint Parkway,             Internet                  $851
                        Overland Park, KS 66251
Starlink                1 Rocket Road, Hawthorne,        Internet                  $232
                        CA 90250
Summitt Broadband       1443 Rail Head Boulevard,        Internet                  $859
                        Naples, FL
                        34110
TECO                    PO Box 31318, Tampa, FL          Natural Gas               $225
                        33631-3318
TXU Energy              PO Box 650638, Dallas, TX        Electricity               $5,699
                        75265-0638
USA Scrap Metal &       3147 N.W. N. River Dr.,          Waste                     $1,597
Recycling               Miami FL 33142
Waste Connections       1751 S.W. 43rd Terrance,         Waste                     $183
                        Deerfield Beach, FL 33442
Waste Management        3831 N.W. 21st Ave.,             Waste                     $2,103
                        Pompano Beach FL 33073


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 Utility Company   Utility Company’s Address              Service Type         Adequate Assurance
                                                                                    Deposit
Waste Pro          411 Tall Pines Rd., West         Waste                     $2,239
                   Palm Beach FL 33413




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